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                 THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



SUNOCO PIPELINE, L.P.,

              Plaintiff,

       v.                              Case No. 1:21-cv-01760-TSC

U.S. DEPARTMENT OF
TRANSPORTATION, et al.,

              Defendants.



                MEMORANDUM OF LAW IN SUPPORT OF
                 DEFENDANTS’ MOTION TO DISMISS
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                                      INTRODUCTION
       This case is about whether Plaintiff Sunoco can force the government to redact a few

lines of safety information about the general effects of a potential pipeline rupture from a 10-

page document that cites Sunoco for certain pipeline-safety violations. The answer is no.

“Congress did not limit an agency’s discretion to disclose information when it enacted the

[Freedom of Information Act],” and “the Act does not afford [a party] any right to enjoin

agency disclosure.” Chrysler Corp. v. Brown, 441 U.S. 281, 294 (1979). So in a reverse-FOIA

case like this one—where a party seeks to prevent the government from disclosing infor-

mation—a plaintiff must plausibly allege, through the Administrative Procedure Act, a viola-

tion of some law other than FOIA. Id. at 317–18. Sunoco cannot and has not done so; the

company’s APA claim is based almost exclusively on a purported FOIA violation. See

Compl. ¶¶ 58–68, ECF No. 1. So the complaint should be dismissed at the outset.

       Even if Sunoco could proceed under FOIA through the APA, it has not plausibly al-

leged that the information at issue—risk-analysis data about the possible consequences of a

pipeline rupture—falls within FOIA’s exemption 4 or exemption 7(F). See id. The pipeline-

rupture information is outside exemption 4’s protection for “commercial or financial infor-

mation” that is “privileged or confidential” because it is not in any sense “commercial,” like

sales statistics, income, profits, losses, inventories, operating costs, or customer lists. 5 U.S.C.

§ 552(b)(4). The risk-analysis data is also outside exemption 7(F)’s protection for law-enforce-

ment information that “could reasonably be expected to endanger the life or physical safety

of any individual” because the redacted information at issue is general, not specific, and does

not identify any particular points of vulnerability in Sunoco’s approximately 350-mile pipe-

line. Id. § 552(b)(7)(F). Put simply, Sunoco would fail to plausibly state a claim even if it

could proceed under FOIA alone.




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                                       BACKGROUND
       After the Pipeline and Hazardous Materials Safety Administration inspected Sunoco’s

Mariner East 2 pipeline system in Pennsylvania, the agency issued a Notice of Probable Vio-

lation (NOPV) and Proposed Compliance Order, alleging that Sunoco violated certain pipe-

line-safety regulations. 1 See Compl. ¶¶ 1–2. One such violation was Sunoco’s failure to tailor

its public-awareness communications to the pipeline’s unique attributes, characteristics, loca-

tion, and potential impact consequences. See PHMSA Final Determination (June 24, 2021),

Compl. Ex. T at 2, ECF No. 1-1; 49 C.F.R. § 195.440(c). The purpose of this requirement is

to educate the public about the possible hazards from unintended releases of a pipeline carry-

ing hazardous liquids, like the Mariner East 2’s transportation of propane and butane—two

flammable hydrocarbon gases that can cause considerable hazards if released. 49 C.F.R.

§ 195.440(d)(2).

       As support for this violation, the 10-page NOPV excerpted a few lines of data from

risk-analysis reports that Sunoco had commissioned from Stantec Consulting Ltd. and pro-

vided to the agency during the 2018 inspection. Comp. ¶¶ 17–18; see Ex. 1. The excerpts

quoted general information about the possible consequences of a pipeline rupture, but did not

identify any particular geographical areas of weakness or points of vulnerability in the approx-

imately 350-mile pipeline. Compl. Ex. T at 6; see Energy Transfer, What is Mariner East? (last

visited Sept. 24, 2021), available here. For example, one excerpt referenced the “maximum

distance to the [lower flammable limit] along the entire pipeline route” and the “maximum pre-

dicted distances to thermal radiation consequences along the entire pipeline”:




       1
          A redacted version of the NOPV is attached as Exhibit 1. The Court may consider
this critical document (the basis for the only claim in this case) because it is referenced in the
complaint. See Legal Standards, infra.


                                                2
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Ex. 1 at 4 (emphasis added). The only other excerpted data referenced the “the maximum

predicted spill extent” and similarly did not identify any particular points of vulnerability in

the pipeline. Compl. Ex. T at 6 (“The information at issue here, i.e., the distance to the lower

flammable limit, the maximum predicted distance to thermal radiation consequences and the

maximum predicted spill extent, is general in nature and does not identify any particular areas

of weakness or points of vulnerability.”); Ex. 1 at 5.

       In accordance with pipeline-safety laws, the agency publicly posted the NOPV on its

website with the redactions above marked as “Sunoco Redaction” to reflect that the redac-

tions were requested by Sunoco. See Ex. 1; see 49 U.S.C. § 60135 (requiring “a monthly up-

dated summary to the public of all gas and hazardous liquid pipeline enforcement actions”).

Discussions between Sunoco and the agency about maintaining these redactions were ongo-

ing when the agency received multiple FOIA requests for the unredacted NOPV. 2 While the

agency initially declined to release the unredacted NOPV, it received further submissions on

this topic through its FOIA-appeal process. See 49 C.F.R. § 7.32. And “[a]fter a new review

on appeal of the complete FOIA file and case law,” the agency decided to publicly release the

unredacted NOPV because it was not covered by FOIA exemption 4 or 7(F). Compl. Ex. T

at 3. Consistent with its regulations, the agency provided Sunoco written notice of its decision

to publicly release the NOPV. 49 C.F.R. § 7.29(b); Compl. Ex. T.

       Sunoco then filed this reverse-FOIA lawsuit, advancing one claim under the APA that

the agency’s decision to release the unredacted NOPV “improperly applies FOIA exemptions

4 and 7(F), and is contrary to established law and violates applicable Agency regulations.”

Compl. ¶ 66. Sunoco did not cite any law that mandates withholding of the unredacted

NOPV.



       2
         Although the complaint also mentions the underlying Pipeline Safety Violation Re-
port (PSVR), Compl. ¶ 2, the agency has made no determination to disclose the unredacted
PSVR. The agency released redacted portions of the PSVR in February 2021, after consulta-
tion with Sunoco.


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                                    LEGAL STANDARDS
       “To withstand a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Slovinec v. Georgetown

Univ., 268 F. Supp. 3d 55, 58–59 (D.D.C. 2017) (Chutkan, J.) (quoting Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009)). But the “presumption of truth accorded factual allegations at this stage

does not apply to a plaintiff’s legal conclusions in the complaint, including those couched as

factual allegations.” Id. at 59 (citing Iqbal, 556 U.S. at 678). And “[a] complaint containing

only threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements cannot survive a motion to dismiss.” Id. (quoting Iqbal, 556 U.S. at 678).

       “In ruling on a motion to dismiss, the Court may consider not only the facts alleged in

the complaint, but also documents attached to or incorporated by reference in the complaint

and documents attached to a motion to dismiss for which no party contests authenticity.”

Karim-Panahi v. 4000 Massachusetts Apartments, 302 F. Supp. 3d 330, 336 (D.D.C. 2018) (Chut-

kan, J.) (citation omitted); Slovinec, 268 F. Supp. 3d at 59 (same). Where, as here, “a docu-

ment is referred to in the complaint and is central to the plaintiff’s claim, such a document

attached to the motion papers may be considered without converting the motion to one for

summary judgment.” Alston v. Johnson, 208 F. Supp. 3d 293, 298 (D.D.C. 2016) (Chutkan,

J.) (quotation marks omitted). “Otherwise, a plaintiff with a legally deficient claim could

survive a motion to dismiss simply by failing to attach a dispositive document on which it

relied.” Id. (citation omitted).
                                         ARGUMENT
I.     Sunoco does not allege a cognizable reverse-FOIA claim under the APA.
       Sunoco’s only claim is primarily premised on the idea that Defendants violated the

APA by “improperly appl[ying] FOIA exemptions 4 and 7(F)” and deciding to release the

unredacted NOPV. See Compl. ¶¶ 59–68. But to state a cognizable reverse-FOIA claim,

Sunoco “must show that the release of the information at issue was somehow unlawful,” and

“[i]n order to make this showing, plaintiff generally ca[nn]ot rely on a claim that a FOIA



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exemption requires the withholding of information from disclosure.” Tripp v. Dep’t of Def.,

193 F. Supp. 2d 229, 238 (D.D.C. 2002). That’s because “FOIA is exclusively a disclosure

statute.” Chrysler, 441 U.S. at 292. And FOIA exemptions generally “allow agencies to with-

hold documents, but do not require withholding.” Tripp, 193 F. Supp. 2d at 238; Chrysler, 441

U.S. at 292 (explaining that FOIA exemptions only “demarcate[] the agency’s obligation to

disclose”; they “do[] not foreclose disclosure”); Campaign for Fam. Farms v. Glickman, 200 F.3d

1180, 1185 (8th Cir. 2000) (“[A]n agency has discretion to disclose information within a FOIA

exemption, unless something independent of FOIA prohibits disclosure.”). So if an agency

discloses information in response to a FOIA request, “the agency cannot possibly violate

FOIA.” Doe, 1 v. Fed. Election Comm’n, 920 F.3d 866, 872 (D.C. Cir. 2019).

       Reverse-FOIA cases therefore fail to state a claim when a plaintiff—like Sunoco

here—simply alleges that the agency misapplied certain FOIA exemptions. Fla. Med. Ass’n,

Inc. v. Dep’t of Health, Educ., & Welfare, 947 F. Supp. 2d 1325, 1353 (M.D. Fla. 2013) (“[T]o

establish that disclosure of information would be arbitrary and capricious under the APA, a

plaintiff must show that the release of the information at issue is somehow unlawful.” (cita-

tion omitted)); Brancheau v. Sec’y of Lab., 2012 WL 140239, at *4 (M.D. Fla. Jan. 18, 2012)

(“[T]o make the required showing in a reverse FOIA suit such as this one, the Plaintiffs

ca[nn]ot rely on a claim that FOIA exemptions required the withholding. Rather, they must

point to some other law that required withholding of the information.”); Detroit Int’l Bridge Co.
v. Fed. Highway Admin., 666 F. Supp. 2d 740, 746–47 (E.D. Mich. 2009) (“FOIA leaves to

agency discretion the decision whether to disclose otherwise exempted information; therefore

some other law must mandate withholding before the APA can be used to obtain such re-

lief.”); Canadian Com. Corp. v. Dep’t of Air Force, 442 F. Supp. 2d 15, 33 (D.D.C. 2006) (ex-

plaining that “the very genesis of the ‘reverse-FOIA’ cause of action” is “when another stat-

ute . . . affirmatively protects the requested information from disclosure”); Tripp, 193 F. Supp.

2d at 239 (“Plaintiff’s APA claim ca[nn]ot be based on an alleged violation of FOIA caused

by the release of this information.”); see Chrysler, 441 U.S. at 290–94; Doe, 1, 920 F.3d at 872.


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Put simply, FOIA “only provides a cause of action to compel disclosure, but not an action to

prohibit disclosure.” Tripp, 193 F. Supp. 2d at 238 (citing Chrysler, 441 U.S. at 317–19).

       For this reason, “[m]any reverse-FOIA cases are explained in light of the Trade Secrets

Act, 18 U.S.C. § 1905, which can constrain an agency’s disclosure discretion.” Doe, 1, 920

F.3d at 872 n.10. But Sunoco did not base its APA claim on the Trade Secrets Act. And it

could not do so. The risk-analysis data that appears in the unredacted NOPV does not “con-

cern[] or relate[] to the trade secrets, processes, operations, style of work, or apparatus . . . of

any person, firm, partnership, corporation, or association.” 18 U.S.C. § 1905. Indeed, alt-

hough FOIA’s exemption 4 allows an agency to withhold “trade secrets,” 5 U.S.C.

§ 552(b)(4), Sunoco nowhere alleges that the risk-analysis data is a “trade secret” under ex-

emption 4, much less the Trade Secrets Act. See, e.g., Compl. ¶ 52 (alleging only that the risk-

analysis data is “protected confidential ‘commercial . . . information,’” not a “trade secret”);

Compl. Ex. T at 3 (“Sunoco does not contend that the redacted information consists of ‘trade

secrets,’ is ‘financial information,’ or is ‘privileged.’”). Nor does the data at issue “concern[]

or relate[] to . . . the identity, confidential statistical data, amount or source of any income,

profits, losses, or expenditures.” 18 U.S.C. § 1905. The risk-analysis data in the NOPV is

general information about the possible consequences of a pipeline rupture; it has nothing to

do with Sunoco’s “income, profits, losses, or expenditures.” Id.

       Sunoco also cannot rely on “applicable Agency regulations” to state a cognizable APA
claim because those regulations do not require Defendants to withhold the risk-analysis data

at issue. See Compl. ¶ 66; id. ¶ 61 (citing “DOT regulations at 49 C.F.R. Part 7 and PHMSA

regulations at 49 C.F.R. Part 190”). One regulation explains that parties “may ask [the

agency] to give confidential treatment to information” provided to the agency. 49 C.F.R.

§ 190.343(a). But the same regulation explicitly states that the agency may “decide[] to dis-

close the information over [a party’s] objections,” and “will notify [the party] in writing” if it

is about to do so. Id. § 190.343(b). That is exactly what happened here. Sunoco’s only other




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cited regulation is similarly permissive. While it provides that Defendants will make “reason-

ably described records available upon request from a member of the public . . . except to the

extent that the records contain information exempt from FOIA’s mandate of disclosure,” 49

C.F.R. § 7.23(b), nothing in the regulation mandates that exempt records are withheld. To the

contrary, the regulation makes clear the agency’s “policy to make its records available to the

public to the greatest extent possible.” Id. § 7.23(a).

       Because Sunoco does not allege that disclosure of the unredacted NOPV is contrary

to any law, it has failed to state an actionable reverse-FOIA claim under the APA. Tripp, 193

F. Supp. 2d at 239. Sunoco’s complaint should therefore be dismissed.
II.    The data at issue does not fall within a FOIA exemption.
       Even if Sunoco could proceed under FOIA through the APA, it fails to plausibly allege

that the risk-analysis data in the NOPV—general information about the possible conse-

quences of a pipeline rupture that does not identify any particular points of vulnerability—

falls with FOIA exemption 4 or exemption 7(F). So Sunoco’s only claim should be rejected.
       A.      The pipeline-rupture data is not “commercial” information within the
               meaning of FOIA’s exemption 4.
       Sunoco claims that the risk-analysis data in the NOPV falls within FOIA’s exemp-

tion 4 because it is “confidential commercial information that is customarily withheld from

public disclosure.” Compl. ¶ 64. This claim is a misplaced. Exemption 4 allows an agency

to withhold “trade secrets and commercial or financial information obtained from a person

and privileged or confidential.” 5 U.S.C. § 552(b)(4). But Sunoco does not allege that the

data at issue are either “trade secrets” or “financial information.” See, e.g., Compl. ¶¶ 52, 64;

Compl. Ex. T at 3 (“Sunoco does not contend that the redacted information consists of ‘trade

secrets,’ is ‘financial information,’ or is ‘privileged.’”). And general risk-analysis data about

the possible consequences of a pipeline rupture is in no sense “commercial.”

       “The terms in Exemption 4 are to be given their ordinary meanings, and information

is ‘commercial’ under this exemption if, in and of itself, it serves a commercial function or is



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of a commercial nature.” Nat’l Ass’n of Home Builders v. Norton, 309 F.3d 26, 38 (D.C. Cir.

2002) (quotation marks and citations omitted); Pub. Citizen v. U.S. Dep’t of Health & Hum. Servs.,

975 F. Supp. 2d 81, 101 (D.D.C. 2013) (consulting dictionaries and explaining that “the term

‘commercial’ is generally defined to mean ‘engaged in commerce’ or ‘having reference to, or

bearing on commerce’”); see also Carlson v. U.S. Postal Serv., 504 F.3d 1123, 1129 (9th Cir.

2007) (“[I]nformation is commercial if it relates to commerce, trade, or profit”). The risk-

analysis data at issue does not come close to meeting that standard. The data, “in and of

itself,” reveals only general information about the possible consequences of a pipeline rupture.

It has nothing to do with “basic commercial operations, such as sales statistics, profits and

losses, and inventories.” Judicial Watch, Inc. v. U.S. Dep’t of Health & Hum. Servs., --- F. Supp.

3d ---, 2021 WL 930350, at *3 (D.D.C. Mar. 11, 2021) (quoting Pub. Citizen, 975 F. Supp. 2d

at 99). It does not reveal information on “revenue, net worth, income, [or] EBITDA [earnings

before interest, taxes, depreciation, and amortization].” Kahn v. Fed. Motor Carrier Safety Ad-

min., 648 F. Supp. 2d 31, 36 (D.D.C. 2009). It does not concern “business sales statistics,

research data, overhead and operating costs, [or] financial conditions.” COMPTEL v. FCC,

910 F. Supp. 2d 100, 115 (D.D.C. 2012). It does not contain loan-application information,

Rural Hous. All. v. U.S. Dep’t of Agric., 498 F.2d 73, 79 (D.C. Cir. 1974), or customer lists,

Greenberg v. FDA, 803 F.2d 1213, 1216 (D.C. Cir. 1986). And it is completely unrelated “to

the income-producing aspects of” Sunoco. Judicial Watch, 2021 WL 930350, at *3 (quoting
Pub. Citizen, 975 F. Supp. 2d at 99). The risk-analysis data is, in short, not “commercial [in]

nature.” Nat’l Ass’n of Home Builders, 309 F.3d at 38.

       It is true that FOIA exemption 4 may apply more broadly “when the provider of the

information has a commercial interest in the information submitted to the agency.” Baker &

Hostetler LLP v. U.S. Dep’t of Com., 473 F.3d 312, 319 (D.C. Cir. 2006). But “the D.C. Circuit

has cautioned that, consistent with the narrow construction given to FOIA exemptions, not

every bit of information submitted to the government by a commercial entity qualifies for

protection under Exemption 4.” Judicial Watch, 2021 WL 930350, at *3 (quoting Pub. Citizen,


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975 F. Supp. 2d at 101). The critical aspect of “commercial” information remains “what it

reveals about the company’s internal operations or income-producing activities.” New York

Times Co. v. U.S. Food & Drug Admin., --- F. Supp. 3d ---, 2021 WL 1178126, at *9 (S.D.N.Y.

Mar. 29, 2021); see Pub. Citizen v. U.S. Dep’t of Health & Hum. Servs., 66 F. Supp. 3d 196, 209

(D.D.C. 2014) (“[T]he applicability of Exemption 4 rests on what information can be gleaned

from the disputed records about the company’s commercial enterprises and whether that in-

formation can be used affirmatively by the company’s competitors.”). Again, the risk-analysis

data here reveals nothing about Sunoco’s internal operations or income-producing activities.

Just as information about medical emergencies on airline flights is not “commercial,” Chicago

Trib. Co. v. FAA, 1998 WL 242611, at *2 (N.D. Ill. May 7, 1998), neither is information about

hypothetical pipeline-rupture emergencies, see Compl. ¶ 20 (explaining that Sunoco uses the

risk-analysis data “for emergency planning” and shares it “with PHMSA, relevant states, and

local emergency responders”).

       In contrast, “a non-profit organization’s reports describing the operations of its members’

nuclear power plants contained ‘commercial’ information” because “the commercial fortunes

of member utilities could be materially affected by the disclosure of health and safety problems

experienced during the operation of nuclear power facilities.” 3 Baker & Hostetler, 473 F.3d at

319 (emphasis added) (quoting Critical Mass Energy Project v. Nuclear Regul. Comm’n, 830 F.2d




       3
         The D.C. Circuit has also said that “documentation of the health and safety experi-
ence of [a company’s] products” may be “commercial” if it is “instrumental in gaining mar-
keting approval for their products.” Pub. Citizen Health Rsch. Grp. v. Food & Drug Admin., 704
F.2d 1280, 1290 (D.C. Cir. 1983). But Sunoco does not allege that the generalized data re-
dacted in the NOPV was instrumental in gaining approval for its pipeline. Rather, it alleges
only that it uses the detailed risk-consequence-modeling data from the Stantec reports for the
Integrity Management Plans required by Defendants’ pipeline safety regulations. Compl.
¶ 20. And unlike the documented adverse reactions to intraocular lenses in Health Research
Group, the generalized risk-analysis data at issue here does not relate to past “health and safety
experience[s]” of a pipeline and therefore does not reveal anything about Sunoco’s “commer-
cial enterprises” that “can be used affirmatively by the company’s competitors.” Pub. Citizen,
66 F. Supp. 3d at 209.


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278, 281 (D.C. Cir. 1987))). And “letters describ[ing] favorable market conditions for domes-

tic [lumber] companies” were considered “commercial” because their disclosure “would help

rivals to identify and exploit those companies’ competitive weaknesses.” Id. at 320.

       But factual information—whether it be customer complaints, a company’s work plan,

in-flight medical emergencies, or the potential consequences of a pipeline rupture—is not

“commercial” if it is divorced from “basic commercial operations that relate to the income-

producing aspects of [the company’s] business” and does not “elaborate on [a company’s]

business or describe its competitive landscape.” 100Reporters LLC v. United States Dep’t of Just.,

316 F. Supp. 3d 124, 141 (D.D.C. 2018) (holding that a company’s work plan—which “do[es]

not elaborate on [a company’s] business or describe its competitive landscape”—is not “com-

mercial” information because it “does not reveal basic commercial operations that relate to

the income-producing aspects of [the company’s] business” (citing Pub. Citizen Health Rsch.

Grp., 704 F.2d at 1290)); New York Times Co., 2021 WL 1178126, at *8 (concluding that “[n]ei-

ther customer nor non-customer complaints are properly classified as commercial infor-

mation,” but a company’s “internal classifications and analysis of these complaints may [ ]

be appropriately described as commercial and therefore entitled to protection under Exemp-

tion 4”); Chicago Trib. Co., 1998 WL 242611, at *3 (“[T]he documents at issue merely contain

factual information regarding the nature and frequency of in-flight medical emergencies and

do not contain any in-depth analysis of the airlines in dealing with these incidents.”). Put
simply, “[t]he mere fact that an event occurs,” or may occur, “in connection with a commer-

cial operation does not automatically transform documents regarding that event into com-

mercial information.” Chicago Trib. Co. 1998 WL 242611, at *2.

       Because Sunoco has failed to plausibly allege that the risk-analysis data in the NOPV

is “commercial” information, its APA claim fails. “The plain language of” FOIA “reveals

that the information itself must be commercial in nature” to fall within exemption 4. Chicago

Trib. Co. 1998 WL 242611, at *3. “If Congress intended the exemption to cover documents

containing information concerning anything that occurs [or may occur] during a commercial


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operation, the words ‘commercial information’ are scarcely suitable words to express the

idea.” Id.
       B.     The risk-analysis data does not fall within FOIA’s exemption 7(F) because
              it could not reasonably be expected to endanger any individual.
       Sunoco’s reverse-FOIA claim also fails because it does not plausibly allege that the

risk-analysis data currently redacted in the NOPV “could reasonably be expected to endanger

the life or physical safety of any individual.” 5 U.S.C. § 552(b)(7)(F). The reason is straight-

forward: the redacted information at issue here—the distance to the lower flammable limit,

the maximum predicted distance to thermal radiation consequences, and the maximum pre-

dicted spill extent—“is general in nature and does not identify any particular areas of weak-

ness or points of vulnerability.” Compl. Ex. T at 6; Ex. 1 at 4–5 (referencing the “maximum

distance to the [lower flammable limit] along the entire pipeline route” and the “maximum pre-

dicted distances to thermal radiation consequences along the entire pipeline” (emphasis added)).

       Sunoco does not proffer any allegations to the contrary. Instead, Sunoco cursorily

asserts that if the risk-analysis data “became publicly available, it would provide a roadmap

to third party criminals or terrorists who may seek to cause the greatest possible damage to

the pipeline and harm nearby communities.” Compl. ¶¶ 1, 22, 65. But the information re-

dacted from the NOPV only indicates the existence of points somewhere along the pipeline

with a certain distance to the maximum flammable limit, a certain distance to thermal-radia-

tion consequences, and certain predicted spill extents. The unredacted NOPV says nothing

about where along the approximately 350-mile pipeline those points are located, and therefore

“does not provide specific targeting information that could be used by a potential bad actor.”

Compl. Ex. T at 6.

       So it is true that specific infrastructure information may satisfy FOIA’s exemption 7(F),

like when a requestor seeks inundation maps “display[ing] the downstream areas and popu-

lations that would be affected if [ ] dams were to break.” Pub. Emps. for Env’t Resp. v. U.S.

Section, Int’l Boundary & Water Comm’n, 740 F.3d 195, 206 (D.C. Cir. 2014) (Kavanaugh, J.)



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(explaining that “the inundation maps fall comfortably within Exemption 7(F)” because “dis-

closing the maps would give anyone seeking to cause harm the ability to deduce the zones

and populations most affected by dam failure” (quotation marks omitted)); Living Rivers, Inc.

v. U.S. Bureau of Reclamation, 272 F. Supp. 2d 1313, 1321 (D. Utah 2003) (holding that inun-

dation maps of the Hoover Dam fall within exemption 7(F) because, among other reasons,

terrorists could use them “to estimate the extent of flooding that would be occasioned by

attacking individual features of the dam”). But the generalized distances redacted from the

NOPV do not present the security concerns that Sunoco perfunctorily raises. And although

Sunoco expresses concern about the release of the Stantec reports themselves, the agency has

only determined to release the limited, general information contained in the NOPV. See

Compl. ¶ 1 (expressing concern about “the risk consequence modeling results bec[oming]

publicly available,” rather than the disclosure of the general redacted data in the NOPV); id.

¶¶ 53, 55–56, 65 (decrying the release of the “results of Stantec’s risk assessments”).

       The only risk-analysis data at issue here is the few lines of generalized distances re-

dacted from the 10-page NOPV. See Compl. at 22 (requesting judgment “setting aside

PHMSA’s decision to release an unredacted version of the NOPV”). And the agency—in-

cluding its Preparedness, Emergency Support, and Security Division—has determined that

such information “does not identify any particular areas of weakness or points of vulnerabil-

ity,” “does not provide specific targeting information that could be used by a potential bad
actor,” and could be approximated “using standard calculations based on the well-known

physical properties of the natural gas liquids . . . being transported.” Compl. Ex. T at 6–7.

Especially in light of the “generally deferential posture when [courts] must assess national

security harms,” Pub. Emps. for Env’t Resp., 740 F.3d at 205, Sunoco cannot survive a motion

to dismiss with only “[t]hreadbare recitals of the elements of a cause of action, supported by

mere conclusory statements” and legal conclusions couched as factual allegations. Hunt v.

Miller, 2020 WL 1156538, at *2 (D.D.C. Mar. 10, 2020) (Chutkan, J.) (quoting Iqbal, 556 U.S.

at 678). Sunoco’s APA claim based on exemption 7(F) should be dismissed.


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III.   Defendants should not be required to produce an administrative record in connec-
       tion with this motion.
       Local Rule 7(n) requires the agency to provide an administrative record to plaintiffs

and “file a certified list of the contents of the administrative record with the Court within 30

days following service of the answer to the complaint or simultaneously with the filing of a

dispositive motion, whichever occurs first.” It is clear from the rule’s logic that these admin-

istrative-record obligations are triggered only by a dispositive motion that relies on an admin-

istrative record. See LCvR 7(n)(1) (directing counsel to “provide the Court with an appendix

containing copies of those portions of the administrative record that are cited or otherwise relied

upon in any memorandum in support of or in opposition to any dispositive motion” (emphasis

added)). But where, as here, Defendants’ motion to dismiss does not rely on the administra-

tive record—which has not even been certified—Local Rule 7(n) should not apply. To hold

otherwise would lead to absurd results, like requiring an administrative record when a defend-

ant seeks dismissal under Federal Rule of Civil Procedure 4(m) because a plaintiff never

served a summons and complaint, or when a defendant seeks dismissal on statute-of-limita-

tions grounds because a plaintiff challenged agency decisions that occurred decades ago.

       To the extent Local Rule 7(n) applies, Defendants respectfully request that the Court

waive compliance with that requirement. Courts in this district routinely do so when an ad-

ministrative record is unnecessary to decide the motion. See, e.g., Desai v. U.S. Citizenship &

Immigr. Servs., 2021 WL 1110737, at *5 n.7 (D.D.C. Mar. 22, 2021) (“Consistent with other

courts in this jurisdiction, the Court shall grant the Government’s motion to waive compli-

ance with Local Civil Rule 7(n)’s requirement that the agency submit an index of the admin-

istrative record.”); Nohria v. Renaud, 2021 WL 950511, at *4 n.3 (D.D.C. Mar. 14, 2021)

(“[f]ollowing the practice of other courts in this jurisdiction” and “waiv[ing] compliance with

Local Civil Rule 7(n) because the administrative record is not necessary for the court’s deci-

sion” (citations omitted)); Akbar v. Cuccinelli, 2020 WL 1287817, at *4 (D.D.C. Mar. 18, 2020)




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(waiving the requirements of Local Rule 7(n) because there “no need for the full administra-

tive record” where the court granted a motion to dismiss); Connecticut v. U.S. Dep’t of the Inte-

rior, 344 F. Supp. 3d 279, 294 (D.D.C. 2018) (“[T]he Court grants Federal Defendants’ mo-

tion to waive compliance with Local Civil Rule 7(n) because the Court need not consider the

administrative record in evaluating the motions before it.”); Mdewakanton Sioux Indians of Min-

nesota v. Zinke, 264 F. Supp. 3d 116, 123 n.12 (D.D.C. 2017) (“[C]onstruing Defendants’ mo-

tion to dismiss as incorporating a motion to waive compliance with Local Civil Rule 7(n), the

Court grants the motion because the administrative record is not necessary for its decision

here.”). This Court should do the same.
                                       CONCLUSION
       For the reasons explained above, Sunoco fails to state a claim. The Court should

therefore dismiss Sunoco’s complaint with prejudice.


DATED: September 24, 2021                           Respectfully submitted,

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